






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




ANTHONY BOSCH,


                            Appellant,


v.



ALIETTE BOSCH,


                            Appellee.
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No. 08-08-00184-CV



Appeal from the


388th Judicial District Court


of El Paso County, Texas 


(TC# 2007CM2817)



MEMORANDUM  OPINION


	Pending before the Court is Appellee Aliette Bosch's motion to dismiss this appeal for
lack of jurisdiction.  Finding that a final, appealable order has not been entered by the trial court,
we will dismiss the appeal.

	Final judgment was entered in this case by the trial court on February 19, 2008. 
Subsequently, however, the trial court granted Mr. Bosch's motion for new trial on issues of
conservatorship, support, and arrearages.  The notice of appeal was filed following entry of the
trial court's order granting a new trial.

	Appellate courts generally have jurisdiction over final judgments, and such interlocutory
orders as the Legislature deems appealable by statute.  See Tex.Civ.Prac.&amp;Rem.Code Ann.
§&nbsp;51.012 and § 51.014 (Vernon 2008); Ruiz v. Ruiz, 946 S.W.2d 123, 124 (Tex.App.--El Paso
1997, no pet.).  Because issues of conservatorship, support, and arrearage remain pending due to
the trial court's decision to grant Mr. Bosch's motion for new trial, the February 19, 2008
judgment is not final and appealable.  Therefore, Appellee's motion to dismiss the appeal for
lack of jurisdiction is granted, and the appeal is dismissed.

	Also pending before the Court are Appellant's motions to supplement the reporter's
record and to extend the time to file an appellant's brief.  Given the disposition of Appellee's
motion to dismiss the appeal, we deny these remaining motions as moot.



November 6, 2008

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.

McClure, J., Not Participating


